                             2:17-cr-20037-JES-JEH # 189                                          Page 1 of 1                                                                                  E-FILED
                                                                                                                               Wednesday, 19 December, 2018 10:52:14 AM
    '¾AO                                                                                                                                     Clerk, U.S. District Court, ILCD

                                                     UNITED STATES DISTRICT COURT
                                  CENTRAL                                                                                                                  lLLINOIS


                         United States of America
                                                                                   DEC 18 2018                      EXRIBIT AND WITNESS LIST
                                                                                                                        Exhibits used 1or portion of motion hrg held 12/17/18
                                            V.                                                                          and 12/18/18 for Motions [96][97][100]
                                                                           CLERK OF THE COURT                               Case Number: 17-20037-01
                      BRENDT A. CHRISTENSEN
                                                                           U.S.,. DISTRICT
                                                                                     ,       COURT
    PRESIDING .JUDGE                                                  PLAJN'rIFF;S ATTOR&EY
                                                                                           ':;i,.1',;, )£ i.
                                                                                                                   -
                                                                                                                                         DEFENDANT'S ATTORNEY
      James E. Shadid                                                  AUSAs Miller, Freres, Nelson                                       AFPOs Pollock, Taseff & Robert Tucker, Julie Brain

    TRJAL DATE (SJ                                                    COURT REPORTER                                                    COURTROOM DEPUTY
      12/17/18 and 12/18/18                                            NM                                                                 TC
     PLF       DEF          DATE
                                           MARKED ADMITTED                                                  DESCRIPTION OF EXHIBITS* AND WITNESSES
     NO         NO        OrFERED

       1                 12/17/2018            X             X         Copy of Search Warrant in Case No. 17-MJ-7109 - Smith

       2                 12/17/2018            X             X         Copy of Advice of Rights form signed by Defendant on 6/15/17 - Manganaro

       4                 12/17/2018            X             X         Copy of Search Warrant in Case No. 17-MJ-7116-Manganaro

       5                 12/17/2018            X             X         Copy of Search Warrant in Case No. 17-MJ-7115 - Manganaro

       6                 12/17/2018            X             X         Copy of Michelle Christensen's Consent to Search form dated 6/15/17 - Tenag!la

       9                 12/17/2018            X             X         Copy of FBI Advice of Rights form signed by Defendant on 6/17/17 - Carter

      10                 12/17/2018            X             X         Copy of Search Warrant and Inventory from Circuit Court of Champaign Co - Geis
.


      11                 12/17/2018            X             X         Copy of Consent form signed by TB on 616/17 - Huckstadt

      12                 12/17/2018            X             X         Copy of Consent form signed by TB on 6/16/17 - Huckstadt

      15                 12/17/2018            X             X         Photograph of aviator sunglasses - Huckstadt

      16                 12/17/2018            X             X         Screen shot of Michelle Christensen's bank account activity from 6/3/17 to 6/11/17 - Huckstadt

      17                 12/17/2018            X                       Affidavit of Michelle Christensen dated 1/11/18 - M. Christensen

      18                 12/17/2018            X             X         Screen shot of Michelle Christensen's bank account activity from 6/3/17 to 6111117 with medidata- Huckstadt


                                                     .
      19                 12/18/2018            X             X         Photograph of aviator sunglasses with medidata - Huckstadt

      20                 12/18/2018            X             X         Photographs at Defendant's residence with medldata - Huckstadt

      21                 12/18/2018            X             X         Photographs at Defendant's residence with medidata- Hl!ckstadt

      22                 12/18/2018            X             X         Listing of photograph of Saturn Astra taken 6/15/17 at 12:03 a.m. with medidata - Huckstadt

      23                 12/18/2018            X             X         Listing of photograph of front door of Defendant's residence with medidata - Huckstadt

                 1       12/17/2018            X            X          Screen shot of FBI Agent Mark Hill's statementfrom 6/14/17 - HHI

                 2       12/17/2018            X             X         FBl CHS Admonishments form confidential source (TB) signed on 6/16/2017 - Huckstadt

                 4       12/18/2018            X             X         Screen shot of DSC_0034.JPG (list of various photos taken during search) - Huckstadt

                 5       12/18/2018            X            X          Screen shot of DSC_0017.JPG (list of various photos taken during search) - Huckstadt
    * Include.a notatwn as to the locatwn of any exh1b1t not helo with the case tile or not ava1lab1e because of size
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